             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE EIGHTH CIRCUIT



STATE OF MISSOURI, et al.,
      Plaintiffs-Appellees / Cross-Appellants,

                                                           Nos. 24-2332,
             v.
                                                             24-2351

JOSEPH R. BIDEN, JR., et al.,
       Defendants-Appellants / Cross-Appellees.



               OPPOSITION TO EMERGENCY MOTION
             FOR AN IMMEDIATE ADMINISTRATIVE STAY

     The Court should deny the motion for an immediate administrative

stay pending a ruling on the motion for an injunction pending appeal. The

government will respond substantively to the motion for an injunction

pending appeal in due course. But in the meantime, entering the requested

relief would exceed the proper bounds of an administrative stay and also

be profoundly inequitable, causing chaos and disrupting the status quo for

millions of student loan borrowers nationwide, without affording the

government a full and fair opportunity to respond to plaintiffs’ meritless

arguments.




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                                    STATEMENT

      1. More than thirty years ago, Congress directed the Department of

Education to offer student loan borrowers an income-contingent

repayment (ICR) plan for student loans. The statute requires the Secretary

of Education to “determine[]” the “appropriate portion” of the borrower’s

income on which ICR payments shall be based. 20 U.S.C. § 1087e(e)(4); see

also, e.g., id. § 1087e(e)(1) (“The Secretary shall establish procedures for

determining the borrower’s repayment obligation on [a direct] loan for

such year, and such other procedures as are necessary to implement

effectively income contingent repayment.”); id. § 1087e(e)(5) (“The

Secretary may promulgate regulations limiting the amount of interest that

may be capitalized on such loan.”). The statute also authorizes the

Secretary to “prescribe[]” the “period of time” over which the borrower

makes payments. Id. § 1087e(d)(1)(D). That must be an “extended” period

“not to exceed 25 years.” Id.

      Since then, the Department has offered several different ICR plans

(including the original ICR plan, the PAYE plan, and the REPAYE plan).


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These differed in their details but shared several essential features. First,

each plan involved a determination by the Secretary regarding the amount

of a borrower’s income that should be “protected from [loan] payments.”

88 Fed. Reg. 43,820, 43,827 (July 10, 2023). Each plan calculated a

borrower’s discretionary income by subtracting that protected amount

from the borrower’s adjusted gross income. See 80 Fed. Reg. 67,204, 67,239

(Oct. 30, 2015); 77 Fed. Reg. 66,088, 66,137 (Nov. 1, 2012); 59 Fed. Reg.

61,664, 61,698 (Dec. 1, 1994). Second, each plan involved a determination

by the Secretary regarding the percentage of a borrower’s discretionary

income that should “go[] toward [monthly] loan payments.” 88 Fed. Reg.

at 43,827; see 80 Fed. Reg. at 67,239; 77 Fed. Reg. at 66,137; 59 Fed. Reg. at

61,698. Third, each plan involved a determination by the Secretary

regarding the period “of time borrowers must pay before repayment ends.”

88 Fed. Reg. at 43,827. Under each plan, the Secretary forgave any

outstanding loan balance (principal plus interest) at the end of that period.

See 80 Fed. Reg. at 67,209; 77 Fed. Reg. at 66,114; 59 Fed. Reg. at 61,666.




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      2. More than a year ago, the Department of Education published the

Final Rule at issue. 88 Fed. Reg. 43,820. That Rule made changes to an

existing ICR plan (the REPAYE plan) and renamed it the Saving on a

Valuable Education (SAVE) plan. See id. at 43,821 (“REPAYE may also be

referred to as the Saving on a Valuable Education (SAVE) plan.”).

      Although most portions of the Rule were scheduled to take effect on

July 1, 2024, the Department exercised its statutory authority, 20 U.S.C.

§ 1089(c)(2), to designate certain portions of the Rule for early

implementation, including a provision that generally lowered payments for

borrowers by increasing the threshold for income protected from

repayment. See 88 Fed. Reg. at 43,820-21. Then, in January 2024, the

Department designated for early implementation an additional provision

shortening the timeline to loan forgiveness under the plan for certain

borrowers with low initial balances. See 89 Fed. Reg. 2489 (Jan. 16, 2024).

The result is that some repayment plans had been modified and some

borrowers had their loan balances forgiven under the SAVE plan as early

as February 2024, well before this lawsuit was filed in April 2024.


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      3. On June 24, the district court preliminarily enjoined the

Department “from any further loan forgiveness for borrowers under the

Final Rule’s SAVE plan” pending disposition of this case. R. Doc. 36. The

district court subsequently denied plaintiffs’ motion for “clarification of the

preliminary injunction” that sought to prevent the Department from

forgiving student loans under the timelines provided for in the preexisting

ICR plans. As the district court explained, “[t]he Court need not extend

this injunction beyond the scope of the Final Rule as Plaintiffs only sought

injunctive relief from implementation of the Final Rule, which the Court

has granted in part.” R. Doc. 54.

                                       ARGUMENT

      Plaintiffs’ motion seeking immediate relief should be denied.

Although styled as a request for a stay, in substance plaintiffs actually seek

an injunction pending appeal. “An injunction and a stay have typically

been understood to serve different purposes. The former is a means by

which a court tells someone what to do or not to do.” Nken v. Holder, 556

U.S. 418, 428 (2009). An administrative stay ordinarily “freeze[s] legal


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proceedings until the court can rule on a party’s request for expedited

relief.” United States v. Texas, 144 S. Ct. 797, 798 (2024) (Barrett, J.,

concurring in denial of applications to vacate stay). What plaintiffs seek is

not an “administrative stay” of a lower court judgment but immediate

injunctive relief suspending the operation of portions of a regulation that

has taken effect and that the district court properly declined to

enjoin. Such a motion “demands a significantly higher justification than a

request for a stay, because unlike a stay, an injunction does not simply

suspend judicial alteration of the status quo but grants judicial intervention

that has been withheld by lower courts.” Respect Me. PAC v. McKee, 562

U.S. 996, 996 (2010) (quotation marks omitted). Plaintiffs cannot meet that

burden, for several reasons.

      First, the fundamental premise of plaintiffs’ motion is incorrect: the

Department has not “evade[d]” the preliminary injunction by

“promulgat[ing]—without notice and comment—a new rule.” Mot. 5; see

also Mot. 1-2. The Department is complying with the district court’s

preliminary injunction. See R. Doc. 44 (notice of compliance). As explained


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above, the Final Rule modified parts of an existing ICR plan and renamed

it. While the district court preliminarily enjoined one of those changes

(shortening the timeline to loan forgiveness for certain borrowers), it

permitted the rest to go into effect. And because plaintiffs never

challenged the regulations establishing any of the other ICR plans—

including regulations creating parts of the REPAYE plan carried forward

into the renamed SAVE plan—those remain in effect. See 88 Fed. Reg. at

43,856 (“The Department . . . will keep the maximum time to forgiveness at

20 years for borrowers with only undergraduate loans and 25 years for

borrowers with any graduate loans.”).

      As a result, the status quo following the district court’s injunction is

that (1) the original ICR and PAYE plans remain in effect, and (2) the

REPAYE plan has been partly amended and renamed, governed by the

terms of the Final Rule’s SAVE plan in all respects except for the criteria

regarding time to forgiveness, which reverted to the terms of the original

REPAYE plan in compliance with the district court’s injunction.




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      Contrary to plaintiffs’ assertion, the current state of affairs does not

reflect the promulgation of some new “hybrid” plan. Rather, it simply

reflects the application of well-established severability principles. As the

district court found, “the Secretary made clear his intention that each

portion of the Final Rule is severable.” R. Doc. 36, at 60; see 88 Fed. Reg. at

43,828 (“[E]ach of the components of this final rule can operate in a manner

that is independent and severable of each other.”). The court further found

that “the Final Rule can function sensibly if the Secretary is enjoined from

enforcing only the offending portions of the Final Rule.” R. Doc. 36, at 60.

The court therefore found it appropriate to enjoin “only those provisions of

the SAVE plan that permit loan forgiveness” and thus sever them from the

rest of the Final Rule—which “Plaintiffs have not shown . . . harm them.”

Id. Plaintiffs do not challenge the district court’s severability analysis—

which they nowhere address in their motion.

      As the district court recognized in denying plaintiffs’ motion for a

clarification, the injunction does not preclude continued implementation of

the preexisting ICR plans’ regulatory provisions governing loan


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forgiveness. Contra Mot. 2-4. And the Department’s continued

implementation of the other portions of the Final Rule merely reflects that

those parts are clearly lawful under the statutory authority described

above—as the district court held.

      Second, the requested administrative stay would be profoundly

disruptive to the status quo. Contra Mot. 7. The Department has

undertaken efforts to implement the SAVE plan for more than year,

including for more than nine months before plaintiffs brought this suit. Cf.

Benisek v. Lamone, 585 U.S. 155, 159 (2018) (“[A] party requesting a

preliminary injunction must generally show reasonable diligence.”). And

plaintiffs waited well over two weeks from the district court’s denial in

part of their motion for a preliminary injunction to seek relief in this Court.

      All portions of the Final Rule relevant to this litigation (save the one

preliminarily enjoined by the district court) have already taken effect.

Given their delay, plaintiffs’ assertions (Mot. 5-6) of irreparable injury—

particularly on an emergency basis—are difficult to credit. And that

posture stands in stark contrast to Nebraska v. Biden, 52 F.4th 1044 (8th Cir.


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2022), where this Court acted “to preserve the status quo pending the

outcome of the States’ appeal,” id. at 1048 (quotation marks omitted), as the

agency action challenged there had not yet taken effect. Cf. Mot. 4-5. The

challenged action in Nebraska, moreover, was a one-time debt relief

program that would have resulted in immediate forgiveness for millions of

borrowers. Here, in contrast, the changes to the REPAYE plan that the

district court declined to enjoin do not address loan forgiveness at all;

instead, they simply adjust the rules for calculating the payments

borrowers owe while their loans remain outstanding. Plaintiffs cannot

plausibly argue that they will be irreparably harmed by the continued

application of those changed calculations during appellate proceedings.

Nor can plaintiffs rely on any purported injury caused by loan forgiveness

under preexisting ICR plans, which have not been challenged in this case

and long predate plaintiffs’ suit.

      Finally, the equities require denial of plaintiffs’ motion. The

Department and the public would suffer irreparable injury from an

immediate administrative stay. As noted, the Department and its student-


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loan servicers prepared for months to implement the SAVE plan, including

by updating their computer systems and notifying borrowers of their new

payment amounts. Now, those processes will be thrown into disarray—

and millions of borrowers plunged into uncertainty about their payment

obligations—if this Court grants the motion. Contrary to plaintiffs’

suggestion (Mot. 6), the Department has not placed all borrowers in the

SAVE plan into forbearance. Borrowers enrolled in SAVE are generally

paying bills for July and receiving bills for August. Putting borrowers into

forbearance adds to the already significant confusion caused by this last-

minute litigation. Moreover, the relief plaintiffs seek—halting forgiveness

for borrowers who have completed their repayment obligations under the

terms of REPAYE—is completely unrelated to any forbearances in place to

help transition borrowers onto the SAVE plan. That inequitable outcome

should be avoided. See Benisek, 585 U.S. at 161 (the public interest can

include avoiding the “needlessly chaotic and disruptive effect” of a

requested preliminary injunction (quotation marks omitted)).




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                                  CONCLUSION

     For the foregoing reasons, the Court should deny the motion for an

immediate administrative stay.

                                  Respectfully submitted,

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      JULY 2024




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                        CERTIFICATE OF COMPLIANCE

     Pursuant to Federal Rule of Appellate Procedure 32(g)(1), I hereby

certify that this response to a motion complies with Federal Rule of

Appellate Procedure 27(d)(1)(E) because it was prepared with Palatino

Linotype 14-point, a proportionally spaced font with serifs, and the motion

complies with Federal Rule of Appellate Procedure 27(d)(2) because it

contains 1919 words, according to the word count of Microsoft Word.

                                            /s/ Simon C. Brewer
                                           Simon C. Brewer




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                            CERTIFICATE OF SERVICE

     I hereby certify that on July 12, 2024, I electronically filed the

foregoing with the Clerk of the Court by using the appellate CM/ECF

system. Participants in the case are registered CM/ECF users, and service

will be accomplished by the appellate CM/ECF system.

                                             /s/ Simon C. Brewer
                                            Simon C. Brewer




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